          Case: 24-1098    Document: 31     Page: 1   Filed: 03/27/2024




                                  No. 24-1098

                  United States Court of Appeals
                                     for the
                             Federal Circuit
                                   BRITA LP,
                                   Appellant
                                       v.
                      INTERNATIONAL TRADE COMMISSION,
                                  Appellee

    ZERO TECHNOLOGIES, LLC; CULLIGAN INTERNATIONAL CO.; VESTERGAARD
   FRANDSEN INC., D/B/A LIFESTRAW; KAZ USA, INC.; HELEN OF TROY LIMITED,
                                Intervenors
                      ____________________________

Appeal from the United States International Trade Commission in Investigation No.
                                   337-TA-1294


APPELLEE’S AND INTERVENORS’ OPPOSED JOINT MOTION FOR AN
       EXTENSION OF TIME TO FILE RESPONSE BRIEFS


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    Houda Morad
           Acting Assistant General Counsel
    Office of the General Counsel
    U.S. International Trade Commission
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    Washington, DC 20436
    202-205-3042

    Counsel for Appellee International Trade Commission
    Case: 24-1098    Document: 31   Page: 2   Filed: 03/27/2024




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                                    202-239-3025
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215-564-2576                        San Francisco, CA 94105
                                    415-243-1000
Counsel for Zero Technologies, LLC
and Culligan International Co.     Counsel for Helen of Troy Limited
                                   and Kaz USA, Inc.

                                    Jeffrey R. Gargano
                                    Devon C. Beane
                                    K&L GATES LLP
                                    70 West Madison Street, Suite 3300
                                    Chicago, IL 60602
                                    312-372-1121

                                    Counsel for Vestergaard Frandsen
                                    Inc., d/b/a LifeStraw



                        March 27, 2024
               Case: 24-1098        Document: 31    Page: 3   Filed: 03/27/2024



FORM 9. Certificate of Interest                                                    Form 9 (p. 1)
                                                                                    March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 2024-1098
   Short Case Caption Brita LP v. ITC
   Filing Party/Entity Zero Technologies, LLC and Culligan International Co.



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        11/17/2023
  Date: _________________                   Signature:    /s/ John S. Letchinger

                                            Name:         John S. Letchinger
               Case: 24-1098          Document: 31      Page: 4       Filed: 03/27/2024



FORM 9. Certificate of Interest                                                           Form 9 (p. 2)
                                                                                           March 2023


     1. Represented                       2. Real Party in             3. Parent Corporations
         Entities.                            Interest.                   and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of        Provide the full names of
 all entities represented by          all real parties in interest     all parent corporations for
 undersigned counsel in               for the entities. Do not list    the entities and all
 this case.                           the real parties if they are     publicly held companies
                                      the same as the entities.        that own 10% or more
                                                                       stock in the entities.

                                      ‫܆‬
                                      ✔ None/Not Applicable            ‫ ܆‬None/Not Applicable

Zero Technologies, LLC                                                Culligan International Co.

Culligan International Co.                                            None/Not Applicable




                                  ‫܆‬      Additional pages attached
                   Case: 24-1098   Document: 31             Page: 5   Filed: 03/27/2024



FORM 9. Certificate of Interest                                                               Form 9 (p. 3)
                                                                                               March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
 ‫܆‬        None/Not Applicable                     ‫܆‬         Additional pages attached
Derek M. Freitas                   Robert Louis Hails Jr.             Jason F. Hoffman
Baker & Hostetler LLP              Baker & Hostetler LLP              Baker & Hostetler LLP

Jeffrey J. Lyons                   Timothy S. Schwarz                 Cassandra Simmons
Baker & Hostetler LLP              Blank Rome LLP                     Baker & Hostetler LLP

T. Cy Walker
Baker & Hostetler LLP



 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
 ‫ ܆‬Yes (file separate notice; see below) ‫ ܆‬No
  ✔
                                                                  ‫ ܆‬N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 ‫܆‬
 ✔        None/Not Applicable                     ‫܆‬         Additional pages attached
               Case: 24-1098        Document: 31    Page: 6   Filed: 03/27/2024



FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                   March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 2024-1098
   Short Case Caption Brita LP v. ITC
   Filing Party/Entity Vestergaard Frandsen Inc. d/b/a LifeStraw



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
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     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        11/22/2023
  Date: _________________                   Signature:    /s/ Jeffrey Gargano

                                            Name:         Jeffrey Gargano
                Case: 24-1098         Document: 31      Page: 7       Filed: 03/27/2024



FORM 9. Certificate of Interest                                                           Form 9 (p. 2)
                                                                                           March 2023


      1. Represented                      2. Real Party in             3. Parent Corporations
          Entities.                           Interest.                   and Stockholders.
    Fed. Cir. R. 47.4(a)(1).            Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of        Provide the full names of
 all entities represented by          all real parties in interest     all parent corporations for
 undersigned counsel in               for the entities. Do not list    the entities and all
 this case.                           the real parties if they are     publicly held companies
                                      the same as the entities.        that own 10% or more
                                                                       stock in the entities.

                                      ‫܆‬
                                      ✔ None/Not Applicable            ‫ ܆‬None/Not Applicable
Vestergaard Frandsen Inc. d/b/a
                                                                      LifeStraw Sàrl
LifeStraw




                                  ‫܆‬      Additional pages attached
                 Case: 24-1098    Document: 31            Page: 8   Filed: 03/27/2024



FORM 9. Certificate of Interest                                                         Form 9 (p. 3)
                                                                                         March 2023


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 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
 ‫܆‬        None/Not Applicable                     ‫܆‬       Additional pages attached
George C. Summerfield             Nelson M. Hua
K&L Gates LLP                     K&L Gates LLP

Michael R. Murphy                 Ewa A. Wojciechowska
K&L Gates LLP                     K&L Gates LLP

Philip A. Kunz
K&L Gates LLP



 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
 ‫ ܆‬Yes (file separate notice; see below) ‫ ܆‬No         ✔
                                                                ‫ ܆‬N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
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 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 ‫܆‬
 ✔        None/Not Applicable                     ‫܆‬       Additional pages attached
               Case: 24-1098        Document: 31    Page: 9   Filed: 03/27/2024



FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                   March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 2024-1098
   Short Case Caption Brita LP v. ITC
   Filing Party/Entity Kaz USA, Inc. and Helen of Troy Limited



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        Nov. 27, 2023
  Date: _________________                   Signature:    /s/ Adam D. Swain

                                            Name:         Adam D. Swain
              Case: 24-1098           Document: 31     Page: 10       Filed: 03/27/2024



FORM 9. Certificate of Interest                                                            Form 9 (p. 2)
                                                                                            March 2023


     1. Represented                       2. Real Party in             3. Parent Corporations
         Entities.                            Interest.                   and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of       Provide the full names of
 all entities represented by          all real parties in interest    all parent corporations for
 undersigned counsel in               for the entities. Do not list   the entities and all
 this case.                           the real parties if they are    publicly held companies
                                      the same as the entities.       that own 10% or more
                                                                      stock in the entities.

                                      ‫܆‬
                                      ✔ None/Not Applicable           ‫ ܆‬None/Not Applicable

Kaz USA, Inc.                                                         Helen of Troy Limited

Helen of Troy Limited                                                 Helen of Troy Limited (Bermuda)
                                                                      Helen of Troy Limited (Barbados)




                                  ‫܆‬      Additional pages attached
                Case: 24-1098     Document: 31        Page: 11   Filed: 03/27/2024



FORM 9. Certificate of Interest                                                             Form 9 (p. 3)
                                                                                             March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
 ‫܆‬        None/Not Applicable                   ‫܆‬      Additional pages attached
Adam D. Swain                     Tom W. Davison                 Katherine G. Rubschlager
Alston & Bird LLP                 Alston & Bird LLP              Alston & Bird LLP

Kirk Bradley                      John Haynes                    Karlee Wroblewski
Alston & Bird LLP                 Alston & Bird LLP              Alston & Bird LLP




 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
 ‫ ܆‬Yes (file separate notice; see below) ‫ ܆‬No
  ✔
                                                             ‫ ܆‬N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
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 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 ‫܆‬
 ✔        None/Not Applicable                   ‫܆‬      Additional pages attached
           Case: 24-1098     Document: 31      Page: 12    Filed: 03/27/2024




      Pursuant to Federal Rule of Appellate Procedure 26(b) and Federal Circuit

Rule 26(b), Appellee International Trade Commission (“the Commission”) and

Intervenors Zero Technologies, LLC; Culligan International Co.; Vestergaard

Frandsen Inc., d/b/a LifeStraw; Kaz USA, Inc.; and Helen of Troy Limited

(collectively, “Intervenors”) jointly move for an order extending the time to file their

response briefs in this appeal by 60 days. The Commission’s and Intervenors’

response briefs are currently due on April 24, 2024. A 60-day extension would make

the briefs due on June 24, 2024 (June 23, 2024, being a Sunday). As set forth below,

good cause exists for the requested extension. The Commission and Intervenors have

not sought any previous extension of time in this appeal.

      The requested extension of time is necessary due to the limited availability of

attorneys representing Intervenors and the need for coordination of a single response

brief among unrelated Intervenors and counsel at different law firms. Specifically,

attorneys representing Intervenors have other work before this Court and other

tribunals that will complicate their ability to complete the briefing in this case by the

original deadline, detailed further in the accompanying declaration. This request for

an extension of time is made in good faith and not for the purpose of delay or

procedural advantage. The Commission joins Intervenors’ motion, and requests the

same extension of time for filing its brief, to ensure that all response briefs are filed

on the same day.



                                           1
              Case: 24-1098    Document: 31     Page: 13   Filed: 03/27/2024




          Appellant Brita LP (“Brita”) indicated it would not oppose an extension of 35

days, but it does oppose an extension of 60 days because “any delay now shortens the

prospective relief Brita can get from an exclusion order.” Brita does not identify any

material basis to justify its refusal to consent to the additional 25 days the

Commission and Intervenors seek. Brita’s arguments regarding delay, moreover, are

at odds with its own conduct in pursuing this appeal. Brita obtained—unopposed—

its own extension of time for its brief of 35 days (see ECF Nos. 24, 25), so Brita

cannot rationally contend that the Commission’s and Intervenors’ 60-day request is

unreasonable. Moreover, Brita took over 30 days to file its notice of appeal leading

to further delay of this case.1 Brita’s actions have led to a self-imposed delay of these

proceedings for over 60 days, and belie any opposition to the Commission’s and

Intervenors’ motion. Nevertheless, Brita has indicated that it intends to file a response

to oppose this motion because the Commission and Intervenors seek an extension of

more than 35 days.

          For the foregoing reasons, and for the additional reasons set forth in the

accompanying declaration, the Commission and Intervenors respectfully request that

this Court grant an extension of 60 days, until June 24, 2024, to file their response

briefs.



1
    Brita’s notice of appeal was timely, but the choice to delay undermines a claim
    of prejudice here.


                                            2
           Case: 24-1098     Document: 31    Page: 14   Filed: 03/27/2024




Dated: March 27, 2024                  Respectfully submitted,

                                By:    /s/ Panyin Hughes2
                                       Panyin Hughes
                                              Attorney Advisor
                                       Houda Morad
                                              Acting Assistant General Counsel
                                       Office of the General Counsel
                                       U.S. International Trade Commission
                                       500 E Street, SW
                                       Washington, DC 20436
                                       202-205-3042

                                       Counsel for Appellee International Trade
                                       Commission

                                By:    /s/ John Letchinger
                                       John Letchinger
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                                       One North Wacker Drive
                                       Suite 4500
                                       Chicago, IL 60606
                                       312-416-6206

                                       Jared Brandyberry
                                       BAKER & HOSTETLER LLP
                                       1801 California Street
                                       Suite 4400
                                       Denver, CO 80202
                                       303-764-4072

                                       Alaina Lakawicz
                                       BAKER & HOSTETLER LLP
                                       1735 Market Street
                                       Suite 3300
                                       Philadelphia, PA 19103
                                       215-564-2576

2
    The Commission consents to Intervenors’ filing of this motion on its behalf.



                                         3
Case: 24-1098   Document: 31   Page: 15   Filed: 03/27/2024




                         Counsel for Zero Technologies, LLC and
                         Culligan International Co.

                   By:   /s/ Adam D. Swain
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                         Thomas W. Davison
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                         Washington, DC 20004
                         202-239-3025

                         Kirk T. Bradley
                         Karlee Wroblewski
                         ALSTON & BIRD LLP
                         Vantage South End
                         1120 South Tryon Street, Suite 300
                         Charlotte, NC 28203
                         704-444-1000

                         Katherine Rubschlager
                         ALSTON & BIRD LLP
                         560 Mission Street, Suite 2100
                         San Francisco, CA 94105
                         415-243-1000

                         Counsel for Helen of Troy Limited and Kaz
                         USA, Inc.

                   By:   /s/ Jeffrey R. Gargano
                         Jeffrey R. Gargano
                         Devon C. Beane
                         K&L GATES LLP
                         70 West Madison Street, Suite 3300
                         Chicago, IL 60602
                         312-372-1121

                         Counsel for Vestergaard Frandsen Inc., d/b/a
                         LifeStraw


                           4
           Case: 24-1098    Document: 31      Page: 16   Filed: 03/27/2024




                                   No. 24-1098

                   United States Court of Appeals
                                      for the
                              Federal Circuit
                                    BRITA LP,
                                    Appellant
                                         v.
                       INTERNATIONAL TRADE COMMISSION,
                                   Appellee

    ZERO TECHNOLOGIES, LLC; CULLIGAN INTERNATIONAL CO.; VESTERGAARD
   FRANDSEN INC., D/B/A LIFESTRAW; KAZ USA, INC.; HELEN OF TROY LIMITED,
                                Intervenors
                      ____________________________

Appeal from the United States International Trade Commission in Investigation No.
                                   337-TA-1294


    DECLARATION OF JEFFREY R. GARGANO IN SUPPORT OF
APPELLEE’S AND INTERVENORS’ OPPOSED JOINT MOTION FOR AN
       EXTENSION OF TIME TO FILE RESPONSE BRIEFS


      I, Jeffrey R. Gargano, under penalty of perjury and pursuant to 28 U.S.C. §

1746, declare as follows:

      1.    I am a partner in the law firm of K&L Gates LLP, and a member of the

Bar of this Court. I am counsel for Intervenor Vestergaard Frandsen Inc., d/b/a

LifeStraw (“LifeStraw”) in the referenced appeal. I submit this declaration based on




                                        1
           Case: 24-1098     Document: 31         Page: 17   Filed: 03/27/2024




personal knowledge, and, if called upon as a witness, I could testify as to the truth of

each statement.

      2.     This is the International Trade Commission’s and Intervenors’ first

request for an extension of time in this appeal.

      3.     There is good cause for the requested extension as I and other counsel

of record for the Intervenors have intervening obligations in unrelated matters

pending before this Court and other tribunals that will complicate our ability to

coordinate among the Intervenors and counsel at different law firms and complete the

briefing in this case by the original deadline.

      4.     For example, counsel for IntervenorS Kaz USA, Inc. and Helen of Troy

Limited are scheduled for two jury trials on April 1, 2024, in the Eastern District of

Texas—one of which is likely to be rescheduled for later in April or May as it is the

second listed trial on Judge Gilstrap’s calendar (Case Nos. 22-cv-296 and 22-cv-343).

The same counsel also have a scheduled ITC trial in early June. Counsel for

Intervenors Zero Technologies, LLC and Culligan International Co. have a Markman

hearing on April 17. Counsel for LifeStraw are lead counsel in numerous other

appeals pending in this Court with briefs due at least on March 22, 2024; April 25,

2024; May 22, 2024; and preparing for trial in a matter pending in the Northern

District of Illinois, including a mock trial in April. Counsel for LifeStraw additionally

have preexisting travel scheduled in April. The proposed extension will accommodate



                                           2
           Case: 24-1098     Document: 31     Page: 18   Filed: 03/27/2024




these immediate conflicts and permit the coordination of a single brief on behalf of

all Intervenors.

      5.     This request is made in good faith and not for purpose of delay or

procedural advantage.

      6.     The Commission and counsel for Intervenors communicated with

Appellant Brita regarding the requested extension of time. Counsel for Brita indicated

that it opposes any extension of time greater than 35 days and will file a response.



Dated: March 27, 2024                  Respectfully submitted,

                                By:    /s/ Jeffrey R. Gargano
                                       Jeffrey R. Gargano
                                       K&L Gates LLP




                                          3
              Case: 24-1098        Document: 31         Page: 19        Filed: 03/27/2024



FORM 19. Certificate of Compliance with Type-Volume Limitations                              Form 19
                                                                                            July 2020


                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

  CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATIONS

            Case Number: 2024-1098

  Short Case Caption: Brita LP v. ITC

 Instructions: When computing a word, line, or page count, you may exclude any
 items listed as exempted under Fed. R. App. P. 5(c), Fed. R. App. P. 21(d), Fed. R.
 App. P. 27(d)(2), Fed. R. App. P. 32(f), or Fed. Cir. R. 32(b)(2).

The foregoing filing complies with the relevant type-volume limitation of the
Federal Rules of Appellate Procedure and Federal Circuit Rules because it meets
one of the following:

        ✔       the filing has been prepared using a proportionally-spaced typeface
                and includes __________
                               476       words.

                the filing has been prepared using a monospaced typeface and includes
                __________ lines of text.

                the filing contains __________ pages / __________ words / __________
                lines of text, which does not exceed the maximum authorized by this
                court’s order (ECF No. __________).


        03/27/2024                                                /s/ Jeffrey R. Gargano
  Date: _________________                       Signature:

                                                Name:             Jeffrey R. Gargano




                                             Save for Filing
